      Case 1:17-cv-02003-GBD-SN Document 70-1 Filed 06/01/18 Page 1 of 3




                      UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF NEW YORK
____________________________________
                                     )
IN RE: TERRORIST ATTACKS ON          )  Civil Action No. 03 MDL 1570 (GBD)
SEPTEMBER 11, 2001                   )  ECF Case
____________________________________ )

This document relates to:

   Federal Insurance Co., et al. v. al Qaida, et al., No. 03-cv-6978
   Vigilant Insurance Co., et al. v. Kingdom of Saudi Arabia, et al., No. 03-cv-8591
   Thomas Burnett, Sr., et al. v. Al Baraka Inv. & Dev. Corp., et al., No. 03-cv-9849
   Estate of John P. O’Neill, Sr., et al. v. Kingdom of Saudi Arabia, et al., No. 04-cv-1922
   Continental Casualty Co., et al. v. Al Qaeda, et al., No. 04-cv-5970
   Cantor Fitzgerald Assocs., et al. v. Akida Inv. Co., et al., No. 04-cv-7065
   Pacific Employers Insurance Co., et al. v. Kingdom of Saudi Arabia, et al.,
   No. 04-cv-7216
   Euro Brokers Inc., et al. v. Al Baraka Inv. & Dev. Corp., et al., No. 04-cv-7279
   Beazley Furlonge Ltd. v. Saudi Binladin Group, Inc., et al., No. 16-cv-7456
   Bowrosen, et al. v. Kingdom of Saudi Arabia, No. 16-cv-8070
   McCarthy, et al. v. Kingdom of Saudi Arabia, No. 16-cv-8884
   Aguilar, et al. v. Kingdom of Saudi Arabia, et al., No. 16-cv-9663
   Addesso, et al. v. Kingdom of Saudi Arabia, et al., No. 16-cv-9937
   Hodges, et al. v. Kingdom of Saudi Arabia, et al., No. 17-cv-117
   DeSimone v. Kingdom of Saudi Arabia, No. 17-cv-348
   Aiken, et al. v. Kingdom of Saudi Arabia, et al., No. 17-cv-450
   Ashton, et al. v. Kingdom of Saudi Arabia, No. 17-cv-2003
   The Underwriting Members of Lloyd’s Syndicate 53, et al. v. Kingdom of Saudi Arabia,
   et al., No. 17-cv-2129
   The Charter Oak Fire Insurance Co., et al. v. Al Rajhi Bank, et al., No. 17-cv-2651
   General Reinsurance Corp., et al. v. Kingdom of Saudi Arabia, No. 17-cv-3810
   Abarca, et al. v. Kingdom of Saudi Arabia, et al., No. 17-cv-3887
   Arrowood Indemnity Co. v. Kingdom of Saudi Arabia, et al., No. 17-cv-3908
   Abrams, et al. v. Kingdom of Saudi Arabia, et al., No. 17-cv-4201
   Abtello, et al. v. Kingdom of Saudi Arabia, et al., No. 17-cv-5174
   Aasheim, et al. v. Kingdom of Saudi Arabia, et al., No. 17-cv-5471
   Abedhajajreh, et al. v. Kingdom of Saudi Arabia, et al., No. 17-cv-6123
   Allianz Versicherungs-Aktiengesellschaft, et al. v. Kingdom of Saudi Arabia,
   No. 17-cv-6519
      Case 1:17-cv-02003-GBD-SN Document 70-1 Filed 06/01/18 Page 2 of 3




   Fraser, et al. v. Al Qaeda Islamic Army, et al., No. 17-cv-7317
   Muenchener Rueckversicherungs-Gesellschaft Aktiengesellschaft in Muenchen, et al. v.
   Kingdom of Saudi Arabia, et al., No. 17-cv-7914
   Abbate, et al. v. Kingdom of Saudi Arabia, et al., No. 17-cv-8617
   Abarca, et al. v. Kingdom of Saudi Arabia et al., No. 18-cv-947
   Behette, et al. v. Kingdom of Saudi Arabia et al., No. 18-cv-538
   Dillaber, et al. v. Islamic Republic Of Iran et al., No. 18-cv-3162
   Leftt et al. v. Kingdom of Saudi Arabia et al., No. 18-cv-03353




                AFFIDAVIT IN SUPPORT OF MOTION FOR ADMISSION
                       OF DANIEL V. DORRIS PRO HAC VICE


       I, Daniel V. Dorris, make this affidavit in support of the motion for my admission to

appear and practice in this Court in the above-captioned litigation and individual cases as counsel

Pro Hac Vice for Defendant Kingdom of Saudi Arabia.

       I, Daniel V. Dorris, being duly sworn, do hereby depose and say as follows:

           1. I have never been convicted of a felony.

           2. I have never been censured, suspended, disbarred or denied admission or

           readmission by any court.

           3. There are no disciplinary proceedings presently against me.

           4. My current certificates of good standing from the State of New York and the

           District of Columbia are attached.

      I certify and attest, under penalty of perjury as prescribed in 28 U.S.C. § 1746 that the

foregoing statements made by me are true. I am aware that if any of the foregoing statements

made by me are false, I am subject to punishment.


                                                 2
    Case 1:17-cv-02003-GBD-SN Document 70-1 Filed 06/01/18 Page 3 of 3




Dated: June 1, 2018                     Respectfully submitted,


                                        /s/ Daniel V. Dorris
                                        Daniel V. Dorris
                                        KELLOGG, HANSEN, TODD,
                                          FIGEL & FREDERICK, P.L.L.C.
                                        1615 M Street, NW, Suite 400
                                        Washington, DC 20036
                                        Telephone: (202) 326-7938
                                        Facsimile: (202) 326-7999
                                        ddorris@kellogghansen.com




                                    3
